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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 UNITED STATES OF AMERICA,                          §
                                                    §
      Plaintiff,                                    §
                                                    §
 v.                                                 §           CRIMINAL ACTION NO.
                                                    §              3:10-CR-0029-B-1
 ROBERT ROYCE JENSEN, JR.,                          §
                                                    §
      Defendant.                                    §

                           MEMORANDUM OPINION AND ORDER

        Before the Court is Defendant Robert Royce Jensen, Jr.’s Second Motion for Reconsideration

(Doc. 48). For the reasons that follow, the motion is DENIED.

                                                    I.

                                           BACKGROUND

        On February 18, 2010, Mr. Jensen was charged by information and pleaded guilty to one

count of receiving child pornography. Doc. 1, Information; Doc. 3, Plea Agreement.1 On January 31,

2011, the Court sentenced Mr. Jensen on this count to 170 months of imprisonment with a five-year

term of supervised release. Doc. 27, J., 2–3. Mr. Jensen’s total offense level after objections was thirty-

four, due to the volume of images he possessed, their offensive nature, the ages of the children

depicted in them, and his sharing of the images. Doc. 43, Gov’t’s Resp., 3. Mr. Jensen has served

approximately 125 months, almost seventy-four percent, of his 170-month sentence. Doc. 48, Def.’s




        1
       Mr. Jensen entered into an amended plea agreement on March 11, 2010. See Doc. 13, Am. Plea
Agreement.

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Second Mot. for Recons., 7. His projected release date is currently February 20, 2023.2

        On June 8, 2020, Mr. Jensen filed a motion for compassionate release (Doc. 41) on the basis

that he suffers from serious underlying medical conditions that place him at a heightened risk for

severe illness or death should he contract COVID-19. Doc. 41, Def.’s Mot. for Compassionate

Release, 5–6. Particularly, Mr. Jensen stated that he is seventy-two years old and suffers from chronic

obstructive pulmonary disease (COPD), hypertension, and deep-vein thrombosis. Id. at 5. The Court

denied Mr. Jensen’s motion on June 24, 2020, on the grounds that he did not demonstrate

“extraordinary and compelling reasons to warrant a sentence reduction.” Doc. 45, Mem. Op. &

Order, 4. While the Court “d[id] not discount that Mr. Jensen’s age and preexisting conditions place

him at a heightened risk of developing a severe illness if he contracts COVID-19,” it noted that the

Medical Center for Federal Prisoners (MCFP) Springfield, where Mr. Jensen resides, had only one

case of COVID-19 at the time. Id. at 5. It further explained that generalized “complaints about the

BOP’s management of COVID-19 do not show that the BOP has failed to adequately control the

spread of the virus at [Mr. Jensen’s] facility.” Id. Finally, the Court noted that Mr. Jensen failed to

provide, in support of his motion, sufficient documentation of his asserted medical conditions. Id. at

6.

        On August 11, 2020, Mr. Jensen filed his first motion for reconsideration (Doc. 46). In it, he

reiterated that his “age and pre-existing health conditions” pose a risk for “severe disease or death

from COVID[-19].” Doc. 46, Mot. for Recons., 4. He provided copies of his BOP medical records

to substantiate the conditions alleged in his motion for compassionate release and pointed out that



        2
            The Bureau of Prisons’ (BOP) inmate locator may be accessed at https://www.bop.gov/inmateloc/.

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he has the following additional medical conditions: “four leg clots, a pulmonary embolism, a closed

head injury, varicose veins with complications, cellulitis, dermatitis, pre-diabetes, [and] shortness of

breath on at least [three] separate occasions[.]” Id. Further, Mr. Jensen again urged the Court to

consider the BOP’s alleged mismanagement of the spread of the virus and the potential for MCFP

Springfield to “repeat[] what happened at FCI Seagoville, FCI Oakdale, and many others.” Id. at 7.

        But the Court again found that Mr. Jensen had failed to demonstrate extraordinary and

compelling reasons warranting release and that the § 3553(a) factors weighed against release. Doc.

47, Mem. Op. & Order, 3. In particular, the Court noted that with only four active cases of COVID-

19 at his facility, he had not shown that “the BOP has failed to adequately control the spread of the

virus at his facility.” Id. at 4. Further, without discounting that Mr. Jensen’s age and some of his

documented medical conditions place him at a heightened risk of developing severe illness if he

contracts COVID-19, the Court found that Mr. Jensen’s medical conditions appeared under control

and well-managed. Id. at 5–6. Finally, the Court discussed the volume and the particularly heinous

nature of the images Mr. Jensen possessed and found that the portion of his sentence he had served

to date did not adequately reflect the seriousness of his offense. Id. at 6.

        On October 23, 2020, Mr. Jensen filed the motion now before the Court, his second motion

for reconsideration (Doc. 48). This time, Mr. Jensen points to an increase in COVID-19 cases in his

facility and states that “[t]he very conditions the Court demands now exist.” Doc. 48, Second Mot.

for Recons., 4. Mr. Jensen notes that “[s]ixty-nine inmates and counting have been infected” at

MCFP Springfield since he filed his last motion for reconsideration, and “[a]pproximately 20 inmates

fell ill within one day.” Id. at 6. It is his position that this demonstrates MCFP Springfield is unable

to control the spread of COVID-19. See id. And it is “[t]his change in circumstances [that forms]

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the basis of Jensen’s current Motion.” Id. at 4.

        The Government filed a response (Doc. 50) in opposition to Mr. Jensen’s motion on

November 2, 2020. Because Mr. Jensen has still not demonstrated extraordinary and compelling

reasons warranting his release, and because the § 3553(a) factors weigh against his release, his

motion is DENIED.

                                                   II.

                                       LEGAL STANDARD

        A district court lacks inherent authority to modify a defendant’s sentence after it has been

imposed. See 18 U.S.C. § 3582(c). But under § 3582(c)(1)(A), as amended by the First Step Act of

2018, “[a] court, on a motion by the BOP or by the defendant after exhausting all BOP remedies,

may reduce or modify a term of imprisonment, probation, or supervised release after considering the

factors of 18 U.S.C. § 3553(a), if ‘extraordinary and compelling reasons warrant such a reduction.’”

United States v. Chambliss, 948 F.3d 691, 692–93 (5th Cir. 2020) (footnote omitted) (quoting

§ 3582(c)(1)(A)(i)). The Court’s decision must also be “consistent with applicable policy statements

issued by the Sentencing Commission.” § 3582(c)(1)(A).

                                                   III.

                                            ANALYSIS

A.      Mr. Jensen Has Not Demonstrated Extraordinary and Compelling Reasons Warranting Release.

        The change in circumstances that Mr. Jensen cites—namely, the rise in COVID-19 cases at

his facility since his last motion—does not constitute an extraordinary and compelling reason

warranting release. “The policy statement applicable to compassionate release—[the United States

Sentencing Guidelines (U.S.S.G.)] § 1B1.13—‘sets forth three circumstances that are considered

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extraordinary and compelling reasons.’” United States v. Delgado, 2020 WL 2542624, at *2 (N.D.

Tex. May 19, 2020) (quoting United States v. Muniz, 2020 WL 1540325, at *1 (S.D. Tex. Mar. 30,

2020)); see also U.S.S.G. § 1B1.13(1)(A). “Among these are the ‘medical condition of the

defendant,’ including where the defendant is ‘suffering from a serious physical or medical

condition . . . that substantially diminishes the ability of the defendant to provide self-care within the

environment of a correctional facility and from which he or she is not expected to recover.’” Muniz,

2020 WL 1540325, at *1 (quoting U.S.S.G. § 1B1.13 cmt. n.1). Additionally, “[t]he policy

statement . . . requires that the defendant not pose a danger to the safety of the community.” Id.

        The basis of Mr. Jensen’s motion is that since the Court last considered his compassionate

release, COVID-19 has “run[ ] ‘rampant’” in his facility. Doc. 48, Second Mot. for Recons., 4. Mr.

Jensen states that the Court’s prior order “demanded evidence that ‘the BOP [] failed to adequately

control the spread of the virus at his facility’” and that such evidence now exists. Id. (quoting Doc.

45, Mem. Op. & Order, 5 (alterations and emphasis are Mr. Jensen’s)). Moreover, Mr. Jensen

submits that “his conditions [are not] any less real or threatening” simply because they are under

control or managed with medication. Id. at 6.

        The Court recognizes that the number of COVID-19 cases has risen at MCFP Springfield

since the Court last considered Mr. Jensen for compassionate release.3 But Mr. Jensen’s argument

fails to acknowledge that the Court explicitly “decline[d] to find extraordinary circumstances absent

specific evidence that MCFP Springfield is not taking proper precautions to curb the spread of the

virus.” Doc. 45, Mem. Op. & Order, 5 (emphasis added). Mr. Jensen does not argue that MCFP


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      As of November 3, 2020, there are 160 inmates at MCFP Springfield with COVID-19. The BOP’s
COVID-19 statistics by facility may be accessed on the BOP’s website, https://www.bop.gov/coronavirus/.

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Springfield is failing to take proper precautions. And, that the number of COVID-19 cases has risen

at MCFP Springfield in a short time does not necessarily mean that it is not taking proper

precautions. Indeed, Mr. Jensen acknowledges that “Missouri as a whole has seen a steady increase

of cases since August and reports a 35% increase in positive cases and a 138% increase i[n] COVID

deaths in” recent days. Doc. 48, Second Mot. for Recons., 5 (citation omitted).

        Nor is the Court convinced that Mr. Jensen’s medical conditions constitute extraordinary and

compelling reasons warranting release. As the Court explained in its order on Mr. Jensen’s first

motion for reconsideration, Mr. Jensen’s conditions appear under control and managed by

medication. Doc. 47, Mem. Op. & Order, 5–6. Mr. Jensen provides the Court with no new medical

records indicating that has changed, and, in fact, Mr. Jensen concedes that his conditions “are not

causing present discomfort[.]” Doc. 48, Second Mot. for Recons., 6. Further, Mr. Jensen makes no

argument that he is not receiving proper care at MCFP Springfield; there is nothing before the Court

that indicates MCFP Springfield is ill-equipped to care for Mr. Jensen even should he contract

COVID-19. To the contrary, MCFP Springfield is a medical facility. The Court does not agree with

Mr. Jensen that his “risk of severe complications or death from COVID combined with his advanced

age, is the epitome of an extraordinary and compelling circumstance,” id. at 7. See U.S.S.G. § 1B1.13

cmt. n.1 (noting that extraordinary and compelling circumstances include a “serious physical or

medical condition” or “deteriorating physical . . . health because of the aging process, that substantially

diminishes the ability of the defendant to provide self-care within the environment of a correctional facility

and from which he or she is not expected to recover” (emphasis added)).

        Again, the Court does not discount that Mr. Jensen’s age and some of his preexisting

conditions place him at a heightened risk of developing a severe illness if he contracts COVID-19.

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Nonetheless, the Court finds that Mr. Jensen’s current medical state is not an extraordinary and

compelling circumstance warranting release.

B.      The Section 3553(a) Factors Weigh Against Release.

        Even if Mr. Jensen’s medical condition constituted an extraordinary and compelling reason

warranting release, the Court must consider the sentencing factors set forth in § 3553(a) to the

extent they are applicable. And these factors still weigh against Mr. Jensen’s release. As the Court

explained in its order on Mr. Jensen’s first motion for reconsideration:

        Mr. Jensen was convicted of receipt of child pornography. The Government seized
        over 600 still images and videos depicting prepubescent minors engaged in illicit sex
        acts. In its response to Mr. Jensen’s compassionate release motion, the Government
        describes the particularly heinous nature of the images seized from Mr. Jensen’s
        devices, and the Court will not recount it here. Though Mr. Jensen has served
        approximately seventy-two percent of his term, the Court determines that the 123
        months he has served thus far do not adequately reflect the seriousness of his offense
        given its “nature and circumstances.” Nor would a sentence reduction “provide just
        punishment” to Mr. Jensen, “promote respect for the law,” or “afford adequate
        deterrence.” Though Mr. Jensen argues that he is no longer a danger to the public,
        the Court finds that, on balance, the § 3553(a) factors weigh against his release.

Doc. 47, Mem. Op. & Order, 6–7 (citations omitted).

        Now, Mr. Jensen has served 125 months, or approximately seventy-four percent of his

sentence. But the Court’s analysis of the § 3553(a) factors does not change. In fact, though he has

participated in drug treatment and drug education, Mr. Jensen apparently has not undergone sex-

offender counseling, treatment, or education. Doc. 50, Gov’t’s Resp., 1; Doc. 48-3, Program Review,

1–5; § 3553(a)(2)(D) (requiring sentencing courts to consider the need for the sentence to provide

the defendant with needed educational training and correctional treatment). The § 3553(a) factors

weigh against release.

        The Court rejects Mr. Jensen’s argument that “the Court’s decision to base its conclusion on

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the heinous nature of his offense effectively repeals the First Step Act.” Doc. 48, Second Mot. for

Recons., 8. It is Mr. Jensen’s position that “under the Court’s logic, [his] offense categorically

precludes release[, and that] is not in keeping with what Congress expressed through the First Step

Act.” Id. First, the Court did not “base its conclusion” solely on the § 3553(a) factors in deciding Mr.

Jensen’s first motion for reconsideration. Rather, the Court concluded both that he had not

demonstrated extraordinary and compelling reasons warranting his release and that the § 3553(a)

factors weighed against release. Doc. 47, Mem. Op. & Order 3–7. Second, the Court has not held,

and does not hold today, that Mr. Jensen—or anyone who has committed Mr. Jensen’s offense—is

categorically ineligible for compassionate release. To the contrary, the Court is aware of its obligation

to “consider every prisoner individually and [to] be cautious about making blanket pronouncements

that categories of prisoners” do or do not qualify for compassionate release. Delgado, 2020 WL

2542624, at *3. Indeed, the Court considers compassionate release to be an individualized inquiry

based on the confluence of numerous factors.

        Nor does the Court’s holding have the practical effect of categorically denying compassionate

release for Mr. Jensen based on his offense. As the Court has explained, Mr. Jensen’s current medical

condition does not rise to the level of extraordinary and compelling, being that it is well-controlled

and managed with medication. But the Court has never foreclosed that Mr. Jensen’s condition could

deteriorate such that Mr. Jensen is “substantially diminishe[d in his] ability . . . to provide self-care

within the environment of a correctional facility[.]” U.S.S.G. § 1B1.13 cmt. n.1. Moreover, the

Court has found that the portion of Mr. Jensen’s sentence that he has served thus far does not

adequately reflect the seriousness of his offense, “provide just punishment” to Mr. Jensen, “promote

respect for the law,” or “afford adequate deterrence.” Doc. 47, Mem. Op. & Order, 6–7. But one

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quarter of Mr. Jensen’s sentence remains to be served. The Court has not foreclosed that it could find

in the future that, based on the sentence served and other circumstances, the § 3553(a) factors

permit Mr. Jensen’s release. But as stated, today, those factors weigh against release.

                                                 IV.

                                         CONCLUSION

       For the reasons stated, Mr. Jensen’s Second Motion for Reconsideration (Doc. 48) is

DENIED.




       SO ORDERED.

       SIGNED: November 5, 2020.




                                               __________________________________
                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE




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